
Judgment of the County Court of Orange County reversed on the law and a new trial ordered. The findings of fact implicit in the verdict of the jury are affirmed. The defendant was convicted of the crime of assault in the second degree. There was no eyewitness to the commission of the crime. It was sought to establish the crime and the guilt of the defendant by circumstantial evidence and by the defendant’s admissions. It was error, requiring a new trial, for the court to refuse to charge that if the jury disbelieved in its entirety the testimony of the witnesses to the alleged confessions, there could be no verdict of guilty. There are other errors to which we do not advert. Lewis, P. J., Carswell, Johnston, Adel and Nolan, JJ., concur.
